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    PAUL K. BROWN               Hon. Katherine Polk Failla, U.S.D.J.                                NEW YORK CITY ADDRESS:
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                                Southern District of New York
                                                                                                        NEW YORK, NY 10018
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                                Re:      Alterescu v. New York City Department Of Education, et al
                                         Case No. 1:21-cv-00925-KPF
                                         Our File No. 25324.0007

                   Dear Judge Failla:

                          This firm represents Defendant United Federation of Teachers (“UFT”) in the
                   above matter. Pursuant to Rule 4 of Your Honor’s Individual Rules, this letter
                   constitutes the UFT’s pre-motion submission regarding the UFT’s anticipated motion
                   to dismiss pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure (“FRCP”).
                   Defendant Department of Education consents to the UFT’s proposed motion to
                   dismiss. Plaintiff Felicia Alterescu opposes the proposed motion.

                          Plaintiff was formerly employed by Defendant Department of Education as a
                   teacher, where Plaintiff had a significant disciplinary history, involving chronic
                   absenteeism and delinquency. After a disciplinary hearing in March and April of
                   2018, Arbitrator Mary J. O’Connell issued an Opinion and Award dated June 1, 2018
                   (the “Award”) terminating Plaintiff’s employment with the Department of Education.
                   Plaintiff commenced a proceeding to vacate the Award in Supreme Court, New York
                   County, which was dismissed by Decision and Order dated February 25, 2019, by the
                   Supreme Court (Hon. John J. Kelly, J.S.C.), and the Award was confirmed.

                          Several years after her termination, on November 23, 2020, Plaintiff
                   commenced the instant action in Supreme Court, New York County, by summons and
                   notice, raising a smorgasbord of disconnected legal conclusions against the
                   Department of Education and the UFT, her former labor union. Upon Plaintiff finally
                   serving her Complaint on June 4, 2021, Plaintiff’s sole factual allegation made
                   against the UFT arises from her dissatisfaction with the representation of her
                   attorney, provided through the UFT’s statewide affiliate, New York State United
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Teachers (“NYSUT”), at her disciplinary hearing in 2018, stemming from her
attorney’s refusal to take an incorrect legal position.

      The Complaint must be dismissed as to the UFT on the following grounds:

       First, Plaintiff’s apparent dissatisfaction with sound legal counsel during her
disciplinary hearing in 2018 fails to state a claim for breach of the duty of fair
representation—the only duty the UFT owes its members, because: (i) there is no
factual allegation of any conduct that is discriminatory, arbitrary, or taken in bad
faith, and a union is not obligated to pursue employees’ complaints regardless of their
merit; (ii) the specific defense Plaintiff alleges her NYSUT attorney refused to raise
is based on a misunderstanding of N.Y. Educ. Law §§ 3020-a, 2590-h, and 2590-f,
recently interpreted by this Court and “numerous state courts” as “giving the
Chancellor the authority to delegate the process of preferring charges against tenured
teachers [employed by the Department of Education] to the District Superintendent,
who in turn may delegate that authority to local school principals,” Green v. Dep’t of
Educ. of N.Y.C., No. 18 CIV. 10817 (AT) (GWG), 2019 BL 283105, *5-6 (S.D.N.Y. July
31, 2019) (citations omitted) (bracketed text supplied); and (iii) any claim for breach
of the duty of fair representation is untimely, pursuant the applicable four-month
statute of limitations.

       Second, the Complaint fails to state a constitutional claim, because (i) unions
are generally not considered state actors; (ii) there is no factual allegation that the
UFT took any action, let alone conspired with the Department of Education, to
deprive Plaintiff of any constitutional right; and (iii) there is no underlying violation
of any constitutional right, including to procedural due process, as Plaintiff alleges
that she received written notice of the charges against her, participated in a full-
blown Educ. Law § 3020-a hearing, and availed herself of review procedures pursuant
to Article 75 of the New York Civil Practice Law and Rules (“CPLR”).

       Third, the remaining state law claims referenced in the Complaint must also
be dismissed, because (i) the Complaint fails to plead necessary elements of each
claim; (ii) the Complaint fails to plead sufficient facts pursuant to Martin v. Curran,
303 N.Y. 276 (1951) to demonstrate ratification by the UFT of allegedly tortious
conduct; (iii) any claim for intentional infliction of emotional distress is time barred;
and (iv) even if the Complaint alleged a breach of any term of the relevant collective
bargaining agreement (“CBA”) between the UFT and the DOE—which it does not—
Plaintiff would not have standing to bring a breach of contract action alleging a
breach of that CBA, to which she is not a party.
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      Fourth, Plaintiff is precluded from challenging factual or legal findings made
by the Arbitrator and confirmed by the Supreme Court.

       Consequently, the UFT respectfully seeks leave to move to dismiss the
Complaint as to the UFT pursuant to FRCP 12(b)(6). Due to the above-described
deficiencies in the Complaint, the UFT respectfully submits that a pre-motion
conference is unlikely to be a productive use of the Court’s time and respectfully
requests that the Court set a briefing schedule for the UFT’s anticipated motion to
dismiss, or, in the alternative, grant leave to the parties to set their own briefing
schedule.

         Thank you for your consideration.

                                        Respectfully submitted,


                                        /s/ Paul K. Brown
                                        Paul K. Brown

cc:      Counsel of Record (by CM/ECF)
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